Case: 5:06-cr-00239-BYP Doc #: 333 Filed: 07/21/10 1 of 1. PageID #: 2648




  DOWD, J.

                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

  JAIME del RIO,                                    )
  a/k/a EDUARDO BURGOS-DEL RIO,                     )     CASE NO. 5:06CR239
                                                    )          5:10 CV 1580
                  Petitioner,                       )
                                                    )
          v.                                        )     JUDGMENT ENTRY
                                                    )
  UNITED STATES OF AMERICA,                         )
                                                    )
                  Respondent.                       )



          For the reasons set forth in the Memorandum Opinion filed contemporaneously with this

  Judgment Entry, the petition for relief under the provisions of 28 U.S.C. Section 2255 is

  dismissed and the court finds there is no basis for issuing a Certificate of Appealability.

          The clerk is directed to mail a copy of the Memorandum Opinion and the Judgment Entry

  to the petitioner.

          IT IS SO ORDERED.



  _July 21, 2010____                              /s/ David D. Dowd, Jr.
  Date                                          David D. Dowd, Jr.
                                                U.S. District Judge
